 Case: 4:22-cr-00690-UNA          Doc. #: 3     Filed: 12/07/22     Page: 1 of 1 PageID #: 10
                                                                                                  FILED
                                                                                                DEC - 7 2022
                             UNITED STATES DISTRICT COURT                                   U.S. DISTRICT COURT
                                                                                          EASTERN DISTRICT OF MO
                             EASTERN DISTRICT OF MISSOURI                                         ST. LOUIS
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,

         Plaintiff,

V.                                               r
                                                     4:22CR690 MTS/PLC
DONALD EUGENE FIELDS II and
THEODORE JOHN SARTORI SR.,

         Defendants.

                       GOVERNMENT'S ENTRY OF APPEARANCE

       COMES Now the United States of America, by and through its attorneys the United States

Attorney for the Eastern District of Missouri, and Dianna R. Collins, Assistant United States

Attorney for said District, and hereby enter their appearance on behalf of the United States.

                                                     Respectfully submitted,

                                                     SAYLER A. FLEMING
                                                     United States Attorney


                                                     Isl Dianna R. Collins
                                                     DIANNA R. COLLINS, #59641MO
                                                     Assistant United States Attorney
                                                     111 South 10th Street, Room 20.333
                                                     St. Louis, Missouri 63102
                                                     (314) 539-2200
